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4
     Attorney for Defendant
     Liw Jiaw Saecha
5
                           UNITED STATES DISTRICT COURT
6
                          EASTERN DISTRICT OF CALIFORNIA
7

8
     UNITED STATES OF AMERICA         )
9                                     )         No. Cr.S-08-0427 MCE
                       Plaintiff      )
10                                    )
               vs.                    )         WAIVER OF PERSONAL APPEARANCE
                                      )
11                                    )         AND ORDER
     LIW JIAW SAECHA                  )
12                                    )
                                      )
13                     Defendant      )
                                      )
14

15
          Pursuant to Federal Rules of Criminal Procedure, Rule
16
     43(c)(3), defendant, Liw Jiaw Saecha hereby waives the right to
17
     be present in person in open court upon the hearing of any
18
     motion or other pre-trial proceeding in this cause except that
19
     she will agree to be personally present for any plea, sentencing
20
     or jury trial, and she agrees to be personally present in court
21
     when ordered by the court to be present.
22
          Defendant Saecha, hereby requests the court to proceed
23
     during every absence of her which the court may permit pursuant
24
     to this waiver; agrees that her interests will be deemed
25
     represented at all times by the presence of her attorney, the



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1    same as if defendant Saecha were personally present and further
2    agrees to be present in court ready for hearing any day and hour
3    the court may fix in his absence.
4         Defendant Saecha further acknowledges that she has been
5    informed of his rights under Title 18 U.S.C. sections 3161-3174
6    of the Speedy Trial Act, and authorized his attorney to set
7    times and delays und the Act without defendant Saecha being
8    present and agrees to waive any and all time under both the
9    Sixth Amendment to the Constitution and the Speedy Trial Act
10   regarding his rights to a speedy public jury trial.
11        The original signed copy of this document shall be
12   maintained by counsel.
13

14   DATED May 27, 2010               Respectfully submitted,
15                                    /S/MICHAEL B. BIGELOW
                                      Attorney for Defendant
16

17
                                      /S/ LIW JIAW SAECHA
18
                                      Liw Jiaw Saecha

19
                                     ORDER
20

21   IT IS SO ORDERED.
22   DATED: June 8, 2010
23
                                   __________________________________
                                   MORRISON C. ENGLAND, JR
24
                                   UNITED STATES DISTRICT JUDGE
25




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